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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                Check if this is an
                                                                        Chapter 13
                                                                                                                                amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Tammie
     government-issued picture
                                       First Name                                                  First Name
     identification (for example,
     your driver's license or
     passport).                        Middle Name                                                 Middle Name

                                       Graham
     Bring your picture                Last Name                                                   Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                  Suffix (Sr., Jr., II, III)


2.   All other names you               Tammie
     have used in the last 8           First Name                                                  First Name
     years
                                       Middle Name                                                 Middle Name
     Include your married or
                                       Harris
     maiden names.
                                       Last Name                                                   Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   8        6       5      6      xxx – xx –
     number or federal                 OR                                                          OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                  9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1     Tammie Graham                                                                 Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                   8       1   –     5    5    2     1     1    0     7                    –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  614 Dover Heights Trail
                                  Number       Street                                          Number      Street




                                  Mansfield                        TX      76063
                                  City                             State   ZIP Code            City                           State    ZIP Code

                                  Tarrant
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                             State   ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



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Debtor 1     Tammie Graham                                                         Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Tammie Graham                                                                Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?
                                                Mentoring Group
    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a                    614 Dover Heights Trail
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.
                                                Mansfield                                                TX            76063
    If you have more than one                   City                                                     State         ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number      Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Tammie Graham                                                               Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Tammie Graham                                                             Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Tammie Graham                                                        Case number (if known)


 Part 7:      Sign Below
For you                      I have examined this petition, and I declare under penalty of perjury that the information provided is true
                             and correct.

                             If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                             or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                             proceed under Chapter 7.

                             If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                             fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                             I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                             I understand making a false statement, concealing property, or obtaining money or property by fraud in
                             connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                             or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                             X /s/ Tammie Graham                                         X
                                Tammie Graham, Debtor 1                                      Signature of Debtor 2

                                Executed on 03/07/2019                                       Executed on
                                            MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                  Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Tammie Graham                                                          Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Dwain Downing                                                   Date 03/07/2019
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   Dwain Downing
                                   Printed name
                                   Law Office of Dwain Downing
                                   Firm Name
                                   1178 W. Pioneer Pkwy
                                   Number          Street




                                   Arlington                                                  TX              76015
                                   City                                                       State           ZIP Code


                                   Contact phone (817) 860-5685                     Email address downingoffice@aol.com


                                   06086550                                                   TX
                                   Bar number                                                 State




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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  Fill in this information to identify your case and this filing:
  Debtor 1               Tammie                                           Graham
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
614 Dover Heights Trail                                    Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Mansfield                        TX       76063                Manufactured or mobile home                               $290,000.00                  $290,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Tarrant                                                                                                      entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Home
                                                           Who has an interest in the property?
614 Dover Heights Trl, Mansfield, TX
                                                           Check one.
76063
                                                               Debtor 1 only                                      Check if this is community property
Legal Description:
                                                               Debtor 2 only                                      (see instructions)
DOVER HEIGHTS ADDITION, Block 2,
Lot 8                                                          Debtor 1 and Debtor 2 only
Mansfield, Tarrant County, Texas                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $290,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Tammie Graham                                                                       Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Mercedes                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     CLS550
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                      2012
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 70,000                                 At least one of the debtors and another            $18,463.00                            $18,463.00
Other information:
2012 Mercedes CLS550 (approx.                               Check if this is community property
70,000 miles)                                               (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $18,463.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               2 Living Room Sets, Dining Set, Kitchen Table, Bedroom Set, Miscellaneous                                               $2,000.00
                                Household Goods and Furnishings
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Refrigerator, Stove, Washer, Dryer, 3 TVs, 2 Laptops, Computer, Printer,                                                $2,000.00
                                Miscellaneous Electronics
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Camera                                                                                                                     $50.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing, Shoes                                                                                                           $450.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
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Debtor 1          Tammie Graham                                                                                                     Case number (if known)

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Multipoo Dog                                                                                                                                                                $100.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                   $4,600.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $100.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Checking Account #---0249
                                                                BBVA Compass, Inc.
                                                                15 South 20th Street
                                                                Birmington, AL 35233                                                                                                                    $2,000.00
             17.2.       Checking account:                      Savings Account #---5423
                                                                BBVA Compass, Inc.
                                                                15 South 20th Street
                                                                Birmingham, AL 35233                                                                                                                  $15,000.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 3
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Debtor 1         Tammie Graham                                                                     Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           401(k) or similar plan: 401(k)                                                                          Unknown
                                           Retirement account:      Retirement Account ~
                                                                    State of Texas Employee Retirement System                                     $60,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
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Debtor 1         Tammie Graham                                                                                       Case number (if known)

Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

            No
            Yes. Give specific information                                                                                                            Federal:
            about them, including whether
            you already filed the returns                                                                                                             State:
            and the tax years.....................................
                                                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $77,100.00



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 5
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Debtor 1         Tammie Graham                                                                                       Case number (if known)


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Tammie Graham                                                                                      Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             Books                                                                                                                                                           $150.00

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                         $150.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Tammie Graham                                                                                              Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $290,000.00

56. Part 2: Total vehicles, line 5                                                                                  $18,463.00

57. Part 3: Total personal and household items, line 15                                                               $4,600.00

58. Part 4: Total financial assets, line 36                                                                         $77,100.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                     $150.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $100,313.00               property total                 +          $100,313.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $390,313.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            Tammie                                      Graham
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $290,000.00                 $69,724.00          Tex. Prop. Code § 43.002
614 Dover Heights Trl, Mansfield, TX                                              100% of fair market
76063                                                                             value, up to any
Legal Description:                                                                applicable statutory
DOVER HEIGHTS ADDITION, Block 2, Lot 8                                            limit
Mansfield, Tarrant County, Texas
Line from Schedule A/B: 1.1

Brief description:                                         $18,463.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2012 Mercedes CLS550 (approx. 70,000                                              100% of fair market     42.002(a)(9)
miles)                                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Tammie Graham                                                          Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
2 Living Room Sets, Dining Set, Kitchen                                      100% of fair market    42.002(a)(1)
Table, Bedroom Set, Miscellaneous                                            value, up to any
Household Goods and Furnishings                                              applicable statutory
Line from Schedule A/B: 6                                                    limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Refrigerator, Stove, Washer, Dryer, 3 TVs,                                   100% of fair market    42.002(a)(1)
2 Laptops, Computer, Printer,                                                value, up to any
Miscellaneous Electronics                                                    applicable statutory
Line from Schedule A/B: 7                                                    limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Camera                                                                       100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $450.00                  $450.00           Tex. Prop. Code §§ 42.001(a),
Clothing, Shoes                                                              100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Multipoo Dog                                                                 100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code § 42.001(b)(1)
Cash                                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code § 42.001(b)(1)
Checking Account #---0249                                                    100% of fair market
BBVA Compass, Inc.                                                           value, up to any
15 South 20th Street                                                         applicable statutory
Birmington, AL 35233                                                         limit
Line from Schedule A/B: 17.1

Brief description:                                     $15,000.00               $15,000.00          Tex. Prop. Code § 42.001(b)(1)
Savings Account #---5423                                                     100% of fair market
BBVA Compass, Inc.                                                           value, up to any
15 South 20th Street                                                         applicable statutory
Birmingham, AL 35233                                                         limit
Line from Schedule A/B: 17.2




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Tammie Graham                                                          Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $60,000.00               $60,000.00          11 U.S.C. § 522(b)(3)(C)
Retirement Account ~                                                         100% of fair market
State of Texas Employee Retirement                                           value, up to any
System                                                                       applicable statutory
Line from Schedule A/B: 21                                                   limit

Brief description:                                      Unknown                     $0.00           11 U.S.C. § 522(b)(3)(C)
401(k)                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Books                                                                        100% of fair market    42.002(a)(4)
                                                                             value, up to any
Line from Schedule A/B:    53
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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  Fill in this information to identify your case:
  Debtor 1             Tammie                                       Graham
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $29,270.00              $18,463.00            $10,807.00
Ally Financial
Creditor's name
                                                 2012 Mercedes CLS550
ATTN: Bankruptcy Dept.
Number       Street
PO Box 380901
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Bloomington              MN      55438               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred           11/2015         Last 4 digits of account number        6     5    8    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $29,270.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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Debtor 1       Tammie Graham                                                              Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $220,276.00             $290,000.00
Specialized Loan Servicing LLC                614 Dover Heights Trail,
Creditor's name
ATTN: Bankruptcy Pro                          Mansfield, TX 76063
Number      Street
PO Box 636005
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Littleton               CO      80163-6005        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred          06/2007       Last 4 digits of account number        2     5    2    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $220,276.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $249,546.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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  Fill in this information to identify your case:
  Debtor 1             Tammie                                       Graham
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number        Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1        Tammie Graham                                                                   Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,479.00
A. T. Still University                                      Last 4 digits of account number         8     6    5     6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
ATTN: Finance/Bankrupty Dept.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
800 W. Jefferson St.                                            Contingent
                                                                Unliquidated
                                                                Disputed
Kirksville                      MO      63501
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Loan
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $1,456.00
American Airlines CC                                        Last 4 digits of account number         0     9    4     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 6403                                                     Contingent
                                                                Unliquidated
                                                                Disputed
Sioux Falls                     SD      57117
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                              $1,315.00
Applied Bank                                             Last 4 digits of account number      0 9        6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2200 Concord Pike, Ste. 102                                  Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19803
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $936.00
AWA Collections                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1045 W. Katella Ave., #230                                   Contingent
                                                             Unliquidated
                                                             Disputed
Orange                        CA      92867
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for American Airlines
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                              $1,404.00
Bloomingdales / DSNB                                     Last 4 digits of account number      6 3        9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2012
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
9111 Duke Blvd.                                              Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.6                                                                                                                                $730.00
Capital 1 / Sony CC                                      Last 4 digits of account number       2    9    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                              $6,518.00
Capital One Bank USA NA                                  Last 4 digits of account number      8 8        2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2013
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30281                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           5 Credit Card Accts
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $407.00
CBNA / Best Buy                                          Last 4 digits of account number      3 7        9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2007
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
50 Northwest Point Road                                      Contingent
                                                             Unliquidated
                                                             Disputed
Elk Grove Village             IL      60007
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.9                                                                                                                                $845.00
CBNA / Tractor Supply                                    Last 4 digits of account number      6 4        4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2016
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6497                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $740.00
CCS/First Savings Bank                                   Last 4 digits of account number      0 8        9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2008
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5019                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5019
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                              $1,175.00
Citibank / CBNA                                          Last 4 digits of account number      2 0        0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6497                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.12                                                                                                                              $4,912.00
Citicards / CBNA                                         Last 4 digits of account number      8 4        4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6241                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                              $1,030.00
Comenity Bank / LNBRYANT                                 Last 4 digits of account number      9 0        3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182789                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                              $1,851.00
Comenity Bank / OVERSTOCK                                Last 4 digits of account number      6 1        0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2015
ATTN: Bankruptcy Notice
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182120                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 6
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.15                                                                                                                                $505.00
Comenity Bank / PIER 1                                   Last 4 digits of account number      8 4        3    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182789                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                $721.00
Comenity Bank / TORRID                                   Last 4 digits of account number      6 0        0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182789                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                              $2,237.00
Comenity Bank / WAYFAIR                                  Last 4 digits of account number      3 2        2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2016
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182789                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.18                                                                                                                                $417.00
Comenity Capital Bank / HSN                              Last 4 digits of account number      2 5        1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182120                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                              $3,285.00
Credit First NA                                          Last 4 digits of account number      1 7        0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 81315                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Cleveland                     OH      44181
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2 Charge Accts ~ Bosch & Firestone
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                              $1,954.00
DSNB Macy's CC                                           Last 4 digits of account number      6 4        8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2012
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8218                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.21                                                                                                                                 $50.00
Enhanced Recovery Systems                                Last 4 digits of account number      0 6        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2017
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 57547                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32241
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Charter Communications
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                           $308,507.00
Fed Loan Servicing                                       Last 4 digits of account number      0 0        0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 69184                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Harrisburg                    PA      17106
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                $461.00
First Savings Credit Card                                Last 4 digits of account number      0 8 9           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/31/2008
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5019                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5019
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2 Credit Card Accts
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.24                                                                                                                              $1,520.00
FNCC                                                     Last 4 digits of account number      9 5 5           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/05/2006
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
500 East 60th St., North                                     Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57104
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                              $1,963.00
Kohls / Capone                                           Last 4 digits of account number      0 4        4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2013
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
N56 W 17000 Ridgewood Dr.                                    Contingent
                                                             Unliquidated
                                                             Disputed
Menomonee Falls               WI      53051
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                $636.00
LVNV Funding LLC                                         Last 4 digits of account number      7 9        9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2017
C/O Resurgent Capital Servs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
ATTN: Bankruptcy Dept.                                       Contingent
PO Box 10497                                                 Unliquidated
                                                             Disputed
Greenville                    SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Credit One Bank NA
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.27                                                                                                                                $917.00
Merrick Bank                                             Last 4 digits of account number      0 3        7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2007
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9201                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                              $3,044.00
Nordstrom FSB                                            Last 4 digits of account number      7 5        5    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6555                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Englewood                     CO      80185
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                $171.57
O'Connor & Associates                                    Last 4 digits of account number       1    5    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2200 N. Loop West, Ste. 200                                  Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Property Tax Loan
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 11
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.30                                                                                                                            $21,493.50
Ovation Services, LLC                                    Last 4 digits of account number       1    0    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8401 Datapoint Dr., Ste. 1000                                Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78229
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Tax Loan
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                              $1,061.00
Synchrony Bank / Amazon                                  Last 4 digits of account number      2 5        4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965015                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                              $1,348.00
Synchrony Bank / JCP                                     Last 4 digits of account number      6 8        7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2013
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965007                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 12
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.33                                                                                                                              $2,257.00
Synchrony Bank / Lowes                                   Last 4 digits of account number      0 2        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965005                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2 Charge Accts
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                              $2,565.00
Synchrony Bk / Old Navy                                  Last 4 digits of account number      0 9        9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2016
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965005                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2 Charge Accts
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                              $2,659.00
Synchrony Bk / Sams Club                                 Last 4 digits of account number      1 9        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2014
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965005                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 13
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.36                                                                                                                              $1,059.00
Synchrony Bk / TJX                                       Last 4 digits of account number      4 6        6    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2013
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965015                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                              $3,492.00
Synchrony Bk / Walmart                                   Last 4 digits of account number      0 3        7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2013
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965024                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                              $2,622.00
TD Bank USA / Target CC                                  Last 4 digits of account number      7 5        8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2007
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 673                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 14
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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.39                                                                                                                                $353.00
THD / CBNA                                               Last 4 digits of account number      1 3        9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2015
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6497                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                                $428.00
The Home Depot                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790328                                                Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Acct
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                                  $0.00
Us Dep Ed                                                Last 4 digits of account number      6 5 6           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/17/2010
Po Box 5609
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    TX      75403
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.42                                                                                                                                $497.00
Virtuoso Sourcing Group                                  Last 4 digits of account number      7 9        6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2018
ATTN: Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
4500 E. Cherry Creek South Dr.,                              Contingent
  Ste. 500                                                   Unliquidated
                                                             Disputed
Denver                        CO      80246
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Sprint
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Tammie Graham                                                               Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Bank of America Mortgage                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Mortgage
4909 Savarese Circle                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       7    8    8    3
Tampa                           FL      33634
City                            State   ZIP Code


Capital One                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card
PO Box 30253                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       9    4    3    0
Salt Lake City                  UT      84130
City                            State   ZIP Code


CES / Dept. of Education                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: ACS                                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Educational
PO Box 7052                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       6    5    6    1
Utica                           NY      13504
City                            State   ZIP Code


Charter Communications                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Acct to Collection by
400 Atlantic St., 10th Floor                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Enhanced Recovery
                                                            Last 4 digits of account number
Stamford                        CT      06901
City                            State   ZIP Code


Comenity Bank / CLMEMRLD                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Charge Acct
PO Box 182789                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       5    6    8    2
Columbus                        OH      43218
City                            State   ZIP Code




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Debtor 1     Tammie Graham                                                          Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Comenity Bank / MYPLACEWDS                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Notice                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Acct
PO Box 182120                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       0    3    5    1
Columbus                    OH      43218
City                        State   ZIP Code


Credit One Bank NA                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Acct to Collection by
PO Box 98873                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                     LVNV Funding
                                                     Last 4 digits of account number       7    9    9    9
Las Vegas                   NV      89193
City                        State   ZIP Code


Dept Of Education / Nelnet                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   19 Educational Accts
3015 S. Parker Rd., #400                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
                                                     Transferred
                                                     Last 4 digits of account number       1    E    t    c
Aurora                      CO      80014
City                        State   ZIP Code


Internal Revenue Service                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 7346                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Taxes                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       8    6    5    6
Philadelphia                PA      19101
City                        State   ZIP Code


Jared Galleria of Jewelry                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
aka Sterling Jewelers, Inc.                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Acct
ATTN: Bankruptcy Dept.                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

375 Ghent Road
                                                     Last 4 digits of account number       9    9    7    9
Fairlawn                    OH      44333
City                        State   ZIP Code


Mercedes-Benz Financial                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Automobile
PO Box 961                                                                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       6    8    5    9
Roanoke                     TX      76262
City                        State   ZIP Code




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Debtor 1     Tammie Graham                                                        Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Mercedes-Benz Financial                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Automobile
36455 Corporate Drive                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       8    7    3    9
Farmington Hills          MI      48331
City                      State   ZIP Code


Navient Solutions Inc.                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 2 Education Accts
PO Box 9500                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       1    1    1    1
Wilkes Barre              PA      18773
City                      State   ZIP Code


Sprint                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Acct to Collection by
6480 Sprint Parkway, Bldg. 13                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                   Virtuoso Sourcing
                                                   Last 4 digits of account number
Overland Park             KS      66251
City                      State   ZIP Code


Synchrony Bank / Belk                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Charge Acct
PO Box 965028                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       6    6    0    0
Orlando                   FL      32896
City                      State   ZIP Code


Synchrony Bk / Rooms To Go                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 2 Charge Accts
PO Box 965036                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       1    1    8    3
Orlando                   FL      32896
City                      State   ZIP Code


Synchrony Bk / Score Rewards                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Charge Acct
PO Box 965005                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       7    4    9    6
Orlando                   FL      32896
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 19
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Debtor 1      Tammie Graham                                                       Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

US Dept. of Education                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Educational
PO Box 5609                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       6    5    6    1
Greenville                TX      75403
City                      State   ZIP Code


Wells Fargo Ed. Fin. Services                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTN: Bankruptcy Dept.                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Acct to Collection by
PO Box 5185                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
                                                   CES/Dept of Ed.
                                                   Last 4 digits of account number
Sioux Falls               SD      57117
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 20
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Debtor 1       Tammie Graham                                                           Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.            $308,507.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $82,514.07


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $391,021.07




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 21
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 Fill in this information to identify your case:
 Debtor 1            Tammie                                      Graham
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Tammie                                       Graham
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      Michael Dimarco Johnson, Jr.
         Name                                                                                       Schedule D, line        2.2
         614 Dover Heights Trail                                                                    Schedule E/F, line
         Number      Street
                                                                                                    Schedule G, line

         Mansfield                                 TX             76063                       Specialized Loan Servicing LLC
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                         page 1
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 Fill in this information to identify your case:
     Debtor 1              Tammie                                      Graham
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Tobacco Program Coordinator
      Include part-time, seasonal,                             Texas Dept. of State Health
      or self-employed work.            Employer's name        Services

      Occupation may include            Employer's address     1301 Bowen Road, Ste. 200
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Arlington                    TX       76013
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        22 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $3,828.35
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $3,828.35




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Tammie Graham                                                                                                    Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,828.35
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $356.55
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.              $398.54
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.               $69.14
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $824.23
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,004.12
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $3,004.12 +                      =                                                $3,004.12
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $3,004.12
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Tammie                                        Graham                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            34 Years
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Grandson                            15 Years
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,361.54
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                         $0.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.                         $0.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                         $0.00
      4d. Homeowner's association or condominium dues                                                                4d.                         $0.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Tammie Graham                                                            Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.                      $0.00
6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $0.00
     6b. Water, sewer, garbage collection                                                           6b.                   $100.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $50.00
         cable services
     6d. Other. Specify:                                                                            6d.                     $0.00
7.   Food and housekeeping supplies                                                                 7.                    $150.00
8.   Childcare and children's education costs                                                       8.                      $0.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $20.00
10. Personal care products and services                                                             10.                    $20.00
11. Medical and dental expenses                                                                     11.                     $0.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $60.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $20.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                     $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $0.00
     15b.   Health insurance                                                                        15b.                    $0.00
     15c.   Vehicle insurance                                                                       15c.                  $219.00
     15d.   Other insurance. Specify:                                                               15d.                    $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2012 Mercedes CLS550                                      17a.                  $763.84
     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Tammie Graham                                                                    Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $2,764.38
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $2,764.38

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $3,004.12
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $2,764.38
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                $239.74

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                               page 3
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 Fill in this information to identify your case:
 Debtor 1                Tammie                                                      Graham
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $290,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $100,313.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $390,313.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $249,546.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $391,021.07
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $640,567.07




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $3,004.12
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $2,764.38




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Tammie Graham                                                                Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $3,828.35


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                       $308,507.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                   $308,507.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Tammie                                   Graham
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Tammie Graham                                    X
        Tammie Graham, Debtor 1                                Signature of Debtor 2

        Date 03/07/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Tammie                                       Graham
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Tammie Graham                                                             Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income          Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.      (before deductions
                                                                             and exclusions                                   and exclusions

From January 1 of the current year until              Wages, commissions,             $7,657.30       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $40,818.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $42,153.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Tammie Graham                                                                 Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Ally Financial                                                                    $2,291.52           $29,270.00             Mortgage
Creditor's name                                                                                                              Car
                                                               12/3/2018, 1/3 & 2/3/2019
PO Box 380901                                                                                                                Credit card
Number      Street
                                                                                                                             Loan repayment
                                                                                                                             Suppliers or vendors
Bloomington                          MN       55438                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Tammie Graham                                                              Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1       Tammie Graham                                                                Case number (if known)

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Law Office of Dwain Downing                          Payment through TLP                                        or transfer was      payment
Person Who Was Paid                                                                                             made

1178 West Pioneer Parkway                                                                                          03/01/2019           $1,500.00
Number      Street




Arlington                     TX       76013
City                          State    ZIP Code

downingoffice@aol.com
Email or website address

TLP
Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
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Debtor 1       Tammie Graham                                                            Case number (if known)

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1       Tammie Graham                                                                   Case number (if known)

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Mentoring Group                                  Mentoring                                           Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 8     1 – 5         2    2    1   1    0    7
614 Dover Heights Trail                          Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed

                                                                                                     From     02/03/2017          To   Present
Mansfield                 TX      76063
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
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Debtor 1     Tammie Graham                                                          Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Tammie Graham                                   X
   Tammie Graham, Debtor 1                                Signature of Debtor 2

   Date     03/07/2019                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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 Fill in this information to identify your case:
 Debtor 1              Tammie                                     Graham
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Ally Financial                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2012 Mercedes CLS550                                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Specialized Loan Servicing LLC                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    614 Dover Heights Trail, Mansfield, TX                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        76063
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Tammie Graham                                                           Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Tammie Graham                                   X
   Tammie Graham, Debtor 1                                Signature of Debtor 2

   Date 03/07/2019                                        Date
        MM / DD / YYYY                                           MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                FORT WORTH DIVISION
In re Tammie Graham                                                                                                                 Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,750.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,250.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)
                                                                 TLP

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)
                                                                 To be paid through Ch 13 Plan

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   03/07/2019                         /s/ Dwain Downing
                      Date                            Dwain Downing                              Bar No. 06086550
                                                      Law Office of Dwain Downing
                                                      1178 W. Pioneer Pkwy
                                                      Arlington, TX 76015
                                                      Phone: (817) 860-5685 / Fax: (817) 916-8804




    /s/ Tammie Graham
   Tammie Graham
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Tammie Graham                                                          CASE NO

                                                                                 CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/7/2019                                            Signature    /s/ Tammie Graham
                                                                     Tammie Graham



Date                                                     Signature
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                         A. T. Still University
                         ATTN: Finance/Bankrupty Dept.
                         800 W. Jefferson St.
                         Kirksville, MO 63501


                         Ally Financial
                         ATTN: Bankruptcy Dept.
                         PO Box 380901
                         Bloomington, MN 55438


                         American Airlines CC
                         ATTN: Bankruptcy Dept.
                         PO Box 6403
                         Sioux Falls, SD 57117


                         Applied Bank
                         ATTN: Bankruptcy Dept.
                         2200 Concord Pike, Ste. 102
                         Wilmington, DE 19803


                         AWA Collections
                         ATTN: Bankruptcy Dept.
                         1045 W. Katella Ave., #230
                         Orange, CA 92867


                         Bank of America Mortgage
                         ATTN: Bankruptcy Dept.
                         4909 Savarese Circle
                         Tampa, FL 33634


                         Bloomingdales / DSNB
                         ATTN: Bankruptcy Dept.
                         9111 Duke Blvd.
                         Mason, OH 45040


                         Capital 1 / Sony CC
                         ATTN: Bankruptcy Dept.
                         PO Box 30285
                         Salt Lake City, UT 84130


                         Capital One
                         ATTN: Bankruptcy Dept.
                         PO Box 30253
                         Salt Lake City, UT 84130
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                         Capital One Bank USA NA
                         ATTN: Bankruptcy Dept.
                         PO Box 30281
                         Salt Lake City, UT 84130


                         CBNA / Best Buy
                         ATTN: Bankruptcy Dept.
                         50 Northwest Point Road
                         Elk Grove Village, IL 60007


                         CBNA / Tractor Supply
                         ATTN: Bankruptcy Dept.
                         PO Box 6497
                         Sioux Falls, SD 57117


                         CCS/First Savings Bank
                         ATTN: Bankruptcy Dept.
                         PO Box 5019
                         Sioux Falls, SD 57117-5019


                         CES / Dept. of Education
                         ATTN: ACS
                         PO Box 7052
                         Utica, NY 13504


                         Charter Communications
                         ATTN: Bankruptcy Dept.
                         400 Atlantic St., 10th Floor
                         Stamford, CT 06901


                         Citibank / CBNA
                         ATTN: Bankruptcy Dept.
                         PO Box 6497
                         Sioux Falls, SD 57117


                         Citicards / CBNA
                         ATTN: Bankruptcy Dept.
                         PO Box 6241
                         Sioux Falls, SD 57117


                         Comenity Bank / CLMEMRLD
                         ATTN: Bankruptcy Dept.
                         PO Box 182789
                         Columbus, OH 43218
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                         Comenity Bank / LNBRYANT
                         ATTN: Bankruptcy Dept.
                         PO Box 182789
                         Columbus, OH 43218


                         Comenity Bank / MYPLACEWDS
                         ATTN: Bankruptcy Notice
                         PO Box 182120
                         Columbus, OH 43218


                         Comenity Bank / OVERSTOCK
                         ATTN: Bankruptcy Notice
                         PO Box 182120
                         Columbus, OH 43218


                         Comenity Bank / PIER 1
                         ATTN: Bankruptcy Dept.
                         PO Box 182789
                         Columbus, OH 43218


                         Comenity Bank / TORRID
                         ATTN: Bankruptcy Dept.
                         PO Box 182789
                         Columbus, OH 43218


                         Comenity Bank / WAYFAIR
                         ATTN: Bankruptcy Dept.
                         PO Box 182789
                         Columbus, OH 43218


                         Comenity Capital Bank / HSN
                         ATTN: Bankruptcy Dept.
                         PO Box 182120
                         Columbus, OH 43218


                         Credit First NA
                         ATTN: Bankruptcy Dept.
                         PO Box 81315
                         Cleveland, OH 44181


                         Credit One Bank NA
                         ATTN: Bankruptcy Dept.
                         PO Box 98873
                         Las Vegas, NV 89193
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                         Dept Of Education / Nelnet
                         ATTN: Bankruptcy Dept.
                         3015 S. Parker Rd., #400
                         Aurora, CO 80014


                         DSNB Macy's CC
                         ATTN: Bankruptcy Dept.
                         PO Box 8218
                         Mason, OH 45040


                         Enhanced Recovery Systems
                         ATTN: Bankruptcy Dept.
                         PO Box 57547
                         Jacksonville, FL 32241


                         Fed Loan Servicing
                         ATTN: Bankruptcy Dept.
                         PO Box 69184
                         Harrisburg, PA 17106


                         First Savings Credit Card
                         ATTN: Bankruptcy Dept.
                         PO Box 5019
                         Sioux Falls, SD 57117-5019


                         FNCC
                         ATTN: Bankruptcy Dept.
                         500 East 60th St., North
                         Sioux Falls, SD 57104


                         Internal Revenue Service
                         PO Box 7346
                         Philadelphia, PA 19101



                         Jared Galleria of Jewelry
                         aka Sterling Jewelers, Inc.
                         ATTN: Bankruptcy Dept.
                         375 Ghent Road
                         Fairlawn, OH 44333

                         Kohls / Capone
                         ATTN: Bankruptcy Dept.
                         N56 W 17000 Ridgewood Dr.
                         Menomonee Falls, WI 53051
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                         LVNV Funding LLC
                         C/O Resurgent Capital Servs
                         ATTN: Bankruptcy Dept.
                         PO Box 10497
                         Greenville, SC 29603

                         Mercedes-Benz Financial
                         ATTN: Bankruptcy Dept.
                         36455 Corporate Drive
                         Farmington Hills, MI 48331


                         Mercedes-Benz Financial
                         ATTN: Bankruptcy Dept.
                         PO Box 961
                         Roanoke, TX 76262


                         Merrick Bank
                         ATTN: Bankruptcy Dept.
                         PO Box 9201
                         Old Bethpage, NY 11804


                         Michael Dimarco Johnson, Jr.
                         614 Dover Heights Trail
                         Mansfield, TX 76063



                         Navient Solutions Inc.
                         ATTN: Bankruptcy Dept.
                         PO Box 9500
                         Wilkes Barre, PA 18773


                         Nordstrom FSB
                         ATTN: Bankruptcy Dept.
                         PO Box 6555
                         Englewood, CO 80185


                         O'Connor & Associates
                         ATTN: Bankruptcy Dept.
                         2200 N. Loop West, Ste. 200
                         Houston, TX 77018


                         Ovation Services, LLC
                         ATTN: Bankruptcy Dept.
                         8401 Datapoint Dr., Ste. 1000
                         San Antonio, TX 78229
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                         Specialized Loan Servicing LLC
                         ATTN: Bankruptcy Pro
                         PO Box 636005
                         Littleton, CO 80163-6005


                         Sprint
                         ATTN: Bankruptcy
                         6480 Sprint Parkway, Bldg. 13
                         Overland Park, KS 66251


                         Synchrony Bank / Amazon
                         ATTN: Bankruptcy Dept.
                         PO Box 965015
                         Orlando, FL 32896


                         Synchrony Bank / Belk
                         ATTN: Bankruptcy Dept
                         PO Box 965028
                         Orlando, FL 32896


                         Synchrony Bank / JCP
                         ATTN: Bankruptcy Dept.
                         PO Box 965007
                         Orlando, FL 32896


                         Synchrony Bank / Lowes
                         ATTN: Bankruptcy Dept.
                         PO Box 965005
                         Orlando, FL 32896


                         Synchrony Bk / Old Navy
                         ATTN: Bankruptcy Dept.
                         PO Box 965005
                         Orlando, FL 32896


                         Synchrony Bk / Rooms To Go
                         ATTN: Bankruptcy Dept.
                         PO Box 965036
                         Orlando, FL 32896


                         Synchrony Bk / Sams Club
                         ATTN: Bankruptcy Dept.
                         PO Box 965005
                         Orlando, FL 32896
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                         Synchrony Bk / Score Rewards
                         ATTN: Bankruptcy Dept.
                         PO Box 965005
                         Orlando, FL 32896


                         Synchrony Bk / TJX
                         ATTN: Bankruptcy Dept.
                         PO Box 965015
                         Orlando, FL 32896


                         Synchrony Bk / Walmart
                         ATTN: Bankruptcy Dept.
                         PO Box 965024
                         Orlando, FL 32896


                         TD Bank USA / Target CC
                         ATTN: Bankruptcy Dept.
                         PO Box 673
                         Minneapolis, MN 55440


                         THD / CBNA
                         ATTN: Bankruptcy Dept.
                         PO Box 6497
                         Sioux Falls, SD 57117


                         The Home Depot
                         ATTN: Bankruptcy Dept.
                         PO Box 790328
                         St. Louis, MO 63179


                         Us Dep Ed
                         Po Box 5609
                         Greenville, TX 75403



                         US Dept. of Education
                         ATTN: Bankruptcy Dept
                         PO Box 5609
                         Greenville, TX 75403


                         Virtuoso Sourcing Group
                         ATTN: Bankruptcy Dept.
                         4500 E. Cherry Creek South Dr.,
                            Ste. 500
                         Denver, CO 80246
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                         Wells Fargo Ed. Fin. Services
                         ATTN: Bankruptcy Dept.
                         PO Box 5185
                         Sioux Falls, SD 57117
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Tammie                                     Graham
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $3,828.35
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Tammie Graham                                                                                                       Case number (if known)

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                                       here                    $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                                       here                    $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00
8.   Unemployment compensation                                                                                                                 $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $3,828.35   +               =       $3,828.35
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       Tammie Graham                                                                                      Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $3,828.35
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $45,940.20

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        3

                                                                                                                                                                       $70,548.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Tammie Graham                                                                        X
           Tammie Graham, Debtor 1                                                                       Signature of Debtor 2

           Date 3/7/2019                                                                                 Date
                MM / DD / YYYY                                                                                    MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
